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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                        Chapter 11

FTX TRADING LTD., et al., 1                                   Case No. 22-11068 (JTD)

         Debtors.                                             (Jointly Administered)

                                                            Obj. Deadline: June 20, 2024 at 4:00 p.m. ET


    EIGHTEENTH MONTHLY FEE STATEMENT OF SULLIVAN & CROMWELL LLP
        AS COUNSEL TO THE DEBTORS AND DEBTORS-IN-POSSESSION FOR
         COMPENSATION FOR PROFESSIONAL SERVICES RENDERED AND
          REIMBURSEMENT OF EXPENSES INCURRED FOR THE PERIOD
          FROM APRIL 1, 2024 THROUGH AND INCLUDING APRIL 30, 2024

Name of Applicant                                          Sullivan & Cromwell LLP
Authorized to Provide Professional Services to:            the Debtors and Debtors-in-Possession
Date of Retention:                                         January 20, 2023 nunc pro tunc to November
                                                           11, 2022
Period for which compensation and                          April 1, 2024 through April 30, 2024
reimbursement is sought:
Amount of Compensation sought as actual,                   $8,504,159.00
reasonable and necessary:
80% of Compensation sought as actual,                      $6,803,327.20
reasonable and necessary:
Amount of Expense Reimbursement sought as                  $17,754.19
actual, reasonable, and necessary:


This is a(n) X monthly ____ interim ____ final application. No prior application has been filed
with respect to this Fee Period.




1
     The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
     4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
     Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete
     list of such information may be obtained on the website of the Debtors’ claims and noticing agent at
     https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd
     is Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.



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                                  PRIOR MONTHLY FEE STATEMENTS FILED

                                                Requested             Requested                                     Approved
Date Filed         Period Covered                                                  Approved Fees 2
                                                   Fees               Expenses                                      Expenses 3
02/07/2023     11/12/2022-11/30/2022           $9,529,535.50           $105,053.32   $7,623,628.40                   $105,053.32
02/14/2023     12/01/2022-12/31/2022          $15,407,509.50           $134,311.31  $12,326,007.60                   $134,311.31
03/06/2023     01/01/2023-01/31/2023          $16,855,264.80            $44,462.04  $13,484,211.84                    $44,462.04
               11/11/2022-01/31/2023
                   (First Interim Fee
03/17/2023           Application)             $41,792,309.80            $283,826.67        $41,142,309.80             $276,737.79
04/04/2023     02/01/2023-02/28/2023          $13,451,559.90             $81,837.95        $10,761,247.92              $81,837.95
04/28/2023     03/01/2023-03/31/2023          $14,061,020.70             $83,721.83        $11,248,816.56              $83,721.83
06/01/2023     04/01/2023-04/30/2023           $9,980,289.00             $18,841.16         $7,984,231.20              $18,841.16
               02/01/2023-04/30/2023
                 (Second Interim Fee
06/15/2023           Application)             $37,492,869.60            $184,400.94        $36,942,869.60             $178,900.94
07/01/2023     05/01/2023-05/31/2023          $11,493,062.50             $25,555.17         $9,194,450.00              $25,555.17
08/01/2023     06/01/2023-06/31/2023          $10,734,782.10             $20,948.35         $8,587,825.68              $20,948.35
08/30/2023     07/01/2023-07/31/2023           $9,483,455.00             $14,782.07         $7,586,764.00              $14,782.07
               05/01/2023-07/31/2023
                  (Third Interim Fee
09/15/2023           Application)             $32,315,409.10             $60,438.89        $31,730,409.10               $54,938.89
09/29/2023     08/01/2023-08/31/2023           $9,482,520.00             $14,782.07         $7,586,016.00               $14,782.07
10/31/2023     09/01/2023-09/30/2023          $10,453,718.50             $16,462.75         $8,362,974.80               $16,462.75
11/30/2023     10/01/2023-10/31/2023          $11,823,286.20             $33,651.98         $9,458,628.96               $33,651.98
               08/01/2023-10/31/2023
                 (Fourth Interim Fee
12/15/2023           Application)             $31,759,524.70             $64,896.80        $30,953,307.60               $59,339.32
12/22/2023      11/1/2023-11/30/2023          $10,370,698.80             $20,859.12                  N/A                      N/A
01/31/2024      12/1/2023-12/31/2023          $10,125,407.50             $12,547.46                  N/A                      N/A
02/29/2024     01/01/2024-01/31/2024          $11,087,998.60             $11,501.97                  N/A                      N/A
               11/01/2023-01/31/2024
                  (Fifth Interim Fee
03/15/2024           Application)             $31,584,104.90             $44,908.55                      N/A                  N/A
03/28/2024     02/01/2024-02/29/2024           $9,886,777.50             $47,405.13                      N/A                  N/A
04/26/2024     03/01/2024-03/31/2024           $8,486,461.40             $33,705.68                      N/A                  N/A




       2
             Approved fees for the monthly fee statements reflect the approved monthly amounts at 80% of requested fees.
             Approved fees for the interim fee applications reflect any reduction agreed upon by S&C, the U.S. Trustee and
             Fee Examiner.
       3
             Approved expenses for the monthly fee statements reflect the approved monthly amounts at 100% of requested
             expenses. Approved expenses for the interim fee applications reflect any reduction agreed upon by S&C, the
             U.S. Trustee and Fee Examiner.


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                                    SUMMARY OF BILLING BY PROFESSIONAL
                               APRIL 1, 2024 THROUGH AND INCLUDING APRIL 30, 2024

                                                          Year of                       Total
                                                Year of                                             Total
  Timekeeper Name                   Position             Law School Hourly Rate         Hours
                                               Admission                                         Compensation
                                                         Graduation                     Billed
Ansari, Mehdi                   Partner          2009       2008      $2,375.00           3.90       $9,262.50
Bander, Jeannette E.            Partner          2012       2011      $2,295.00           5.50      $12,622.50
Beatty, Chris                   Partner          2005       2004      $2,375.00           1.20       $2,850.00
Beller, Benjamin S.             Partner          2014       2013      $1,695.00          13.20      $22,374.00
Birke, Max                      Partner          2000       2001      $2,375.00           0.80       $1,900.00
Bromley, James L.               Partner          1990       1989      $2,375.00          38.80      $92,150.00
Cohen, Audra D.                 Partner          1993       1992      $2,375.00           2.00       $4,750.00
Croke, Jacob M.                 Partner          2011       2010      $2,335.00         202.70     $473,304.50
De Leeuw, Marc                  Partner          1992       1992      $2,375.00          42.20     $100,225.00
de Vito Piscicelli,
Oderisio                        Partner          1998         1997         $2,375.00     55.50     $131,812.50
DeCamp, Justin J.               Partner          2006         2005         $2,375.00     75.00     $178,125.00
Diamond, Eric M.                Partner          2011         2010         $2,335.00      0.30         $700.50
Dietderich, Andrew G.           Partner          1997         1995         $2,375.00    155.00     $368,125.00
Dunne, Christopher J.           Partner          2006         2005         $2,375.00    114.90     $272,887.50
Ehrenberg, Stephen              Partner          2003         2002         $2,375.00     39.30      $93,337.50
Eitel, Mitchell S.              Partner          1988         1987         $2,375.00      1.10       $2,612.50
Friedlander, Nicole             Partner          2002         2001         $2,375.00      0.90       $2,137.50
Glueckstein, Brian D.           Partner          2004         2003         $2,375.00    185.20     $439,850.00
Hariton, David P.               Partner          1986         1982         $2,375.00    184.90     $439,137.50
Hatano, Keiji                   Partner          2000         2000         $2,375.00      2.00       $4,750.00
Hochberg, Jeffrey D.            Partner          1996         1995         $2,375.00      0.40         $950.00
Holley, Steven L.               Partner          1984         1983         $2,375.00      7.40      $17,575.00
Howard, Christopher J.          Partner          1996         1991         $2,375.00      1.30       $3,087.50
Jones, Craig                    Partner          1996         1996         $2,375.00      0.40         $950.00
Kent, Benjamin S.D.             Partner          2010         2009         $2,160.00      0.80       $1,728.00
Kranzley, Alexa J.              Partner          2009         2008         $2,160.00    162.70     $351,432.00
Lewis, Anthony J.               Partner          2004         2003         $2,335.00     13.20      $30,822.00
Li, Ken                         Partner          2014         2013         $2,160.00     10.40      $22,464.00
Lloyd, Jameson S.               Partner          2014         2013         $2,160.00      2.10       $4,536.00
McDonald, James M.              Partner          2008         2007         $2,375.00     15.00      $35,625.00
Mehta, Nirav N.                 Partner          2012         2011         $1,975.00     19.30      $38,117.50
Menillo, Nicholas F.            Partner          2013         2012         $2,275.00      6.90      $15,697.50
O'Neill, Rita-Anne              Partner          2004         2004         $2,375.00      2.90       $6,887.50
Peikin, Steven R.               Partner          1992         1991         $2,375.00      2.10       $4,987.50
Schollmeyer, Mario              Partner          2012         2014         $1,975.00      0.30         $592.50
Simmons, Rebecca J.             Partner          1992         1991         $2,375.00      0.60       $1,425.00
Simpson, Evan S.                Partner          2011         2010       $1,168.00**     30.00      $35,040.00
Simpson, Evan S.                Partner          2011         2010         $2,335.00    127.20     $297,012.00

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                                                        Year of                       Total
                                              Year of                                              Total
  Timekeeper Name              Position                Law School Hourly Rate         Hours
                                             Admission                                          Compensation
                                                       Graduation                     Billed
Wertheim, Frederick     Partner                1988       1987      $2,375.00           0.20          $475.00
Wheeler, Isaac J.       Partner                2010       2009      $2,375.00           0.30          $712.50
Wheeler, Stephanie G.   Partner                1994       1993      $2,375.00         108.00      $256,500.00
Wu, Mimi                Partner                2016       2015      $1,695.00           4.30        $7,288.50
Partner Total                                                                        1,640.20   $3,786,819.00
Gilberg, David J.       Of Counsel             1981         1981         $2,375.00      1.00        $2,375.00
Tomaino Jr., Michael T. Of Counsel             1990         1989         $2,375.00     53.70      $127,537.50
Clarke, Stephen H.      Special Counsel        2011         2010         $1,675.00     34.40       $57,620.00
Harsch, Bradley A.      Special Counsel        1998         1998         $1,895.00    147.50      $279,512.50
Logan, Ryan P.          Special Counsel        2007         2007         $1,895.00      4.20        $7,959.00
Long, Sarah Remmer      Special Counsel        2015         2014         $1,860.00      0.20          $372.00
Popovsky, Mark A.       Special Counsel        2012         2011         $1,675.00      6.10       $10,217.50
Sedlak, Jonathan M.     Special Counsel        2005         2004         $1,675.00     96.10      $160,967.50
Sutton, Jennifer L.     Special Counsel        2004         2004         $1,895.00      8.50       $16,107.50
Wagener, William H.     Special Counsel        2004         2003         $1,675.00     10.10       $16,917.50
Yeargan, Shane R.       Special Counsel        2014         2013         $1,675.00      8.80       $14,740.00
Of Counsel & Special Counsel Total                                                    370.60      $694,326.00
                        Practice Area
Carrier, Rita M.        Associate              1984         1984         $1,450.00     0.20          $290.00
                        Practice Area
Xiang, Shihui           Associate              2020         2019           $860.00     10.50        $9,030.00
Anfang, Michael A.      Associate              2024         2023           $850.00     43.50       $36,975.00
Barnes, Grier E.        Associate              2022         2021         $1,295.00     27.80       $36,001.00
Bauer, Phinneas G.      Associate              2024         2023           $850.00    102.30       $86,955.00
Bennett, Mark C.        Associate              2018         2017         $1,530.00    158.10      $241,893.00
Bierlein, Johanna Ruth  Associate              2024         2023           $850.00     35.70       $30,345.00
Blaisdell, Jackson T.   Associate              2023         2023           $850.00     64.60       $54,910.00
Brod, Andrew B.         Associate              2023         2022           $995.00     75.60       $75,222.00
Campbell, Craig A.      Associate              2023         2023           $850.00     21.20       $18,020.00
Capogna, Alexander H. Associate                2021         2020         $1,395.00      0.50          $697.50
Ciafone, Jacob W.       Associate              2024         2023           $850.00     68.40       $58,140.00
Courroy, Arthur D.      Associate              2023         2022           $995.00     27.90       $27,760.50
De Vries, Saskia E.L.   Associate              2024         2023           $850.00     35.60       $30,260.00
Donnelly, Kathleen T.   Associate              2019         2018         $1,490.00     18.00       $26,820.00
Enriquez-Sarano, Louis Associate               2022         2021         $1,295.00     69.00       $89,355.00
Ferdinandi, Federico    Associate              2021         2019         $1,450.00     51.60       $74,820.00
Flegenheimer, Zoeth M. Associate               2019         2018         $1,490.00     25.90       $38,591.00
Foote, Isaac S.         Associate              2023         2022           $995.00     16.50       $16,417.50
Fradin, Daniel E.       Associate              2023         2022           $995.00     25.80       $25,671.00
Friedman, Mitchell N.   Associate              2019         2018         $1,490.00      1.90        $2,831.00
Greene, Brett M.        Associate              2024         2023           $850.00      7.10        $6,035.00
Haase, Michael A.       Associate              2021         2017         $1,530.00     11.40       $17,442.00

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                                                        Year of                       Total
                                              Year of                                             Total
  Timekeeper Name                 Position             Law School Hourly Rate         Hours
                                             Admission                                         Compensation
                                                       Graduation                     Billed
Han, Yaqi                     Associate        2020       2019      $1,450.00           1.90       $2,755.00
Hearn, Zachary W.M.           Associate        2021       2020      $1,395.00           3.20       $4,464.00
Hill, Tyler W.                Associate        2017       2016      $1,575.00          49.50      $77,962.50
Hodges, Christian T.          Associate        2023       2022        $995.00           1.50       $1,492.50
Holland, Alexander S.         Associate        2021       2020      $1,395.00          68.60      $95,697.00
Hoover, Ruth H.               Associate        2022       2022        $995.00          69.60      $69,252.00
Kapoor, Julie G.              Associate        2018       2016      $1,530.00          24.80      $37,944.00
Keeley, Julian M.             Associate        2023       2022        $995.00           1.00         $995.00
Kerin, Meaghan Chas           Associate        2019       2018      $1,490.00           2.90       $4,321.00
Kewlani, Kanishka             Associate        2024       2023        $850.00          89.50      $76,075.00
Kim, HyunKyu                  Associate        2022       2020      $1,395.00          74.80     $104,346.00
Lavin, Phoebe A.              Associate        2023       2022        $995.00         102.40     $101,888.00
Lee, Jinny                    Associate        2023       2022        $995.00          16.70      $16,616.50
Levin, Elizabeth D.           Associate        2021       2020      $1,395.00           2.40       $3,348.00
Levine, Aaron M.              Associate        2018       2017      $1,530.00          39.50      $60,435.00
Li, Alexandra                 Associate        2023       2023        $850.00          22.30      $18,955.00
Li, Samantha                  Associate        2022       2021      $1,295.00           4.60       $5,957.00
Liu, Sienna                   Associate        2021       2020      $1,395.00           0.70         $976.50
MacDonald, Jeffrey W.         Associate        2018       2017      $1,530.00          82.20     $125,766.00
Mandel, Robert H.             Associate        2024       2023        $850.00           1.90       $1,615.00
Materni, Michele C.           Associate        2017       2016      $1,575.00           1.40       $2,205.00
Mayberry, Keila M.            Associate        2023       2022        $995.00          88.90      $88,455.50
Mazumdar, Aneesa              Associate        2023       2022        $995.00          82.10      $81,689.50
Mazzarelli, Samantha
M.                            Associate        2024         2023           $850.00     27.10      $23,035.00
Merriam, William J.           Associate        2024         2023           $850.00     29.30      $24,905.00
Middleditch, Hattie R.        Associate        2014         2017         $1,530.00     13.90      $21,267.00
Millet, Tatum E.              Associate        2023         2022           $995.00     16.40      $16,318.00
O'Hara, Daniel P.             Associate        2021         2020         $1,395.00    140.40     $195,858.00
Pacia, Gabrielle N.           Associate        2021         2020         $1,395.00      0.50         $697.50
Pan, Yinran                   Associate        2022         2021         $1,295.00      0.30         $388.50
Paranyuk, Julia E.            Associate        2023         2021         $1,295.00      6.00       $7,770.00
Patton, James A.              Associate        2022         2021         $1,295.00     12.60      $16,317.00
Pe, Jessica L.                Associate        2023         2023           $850.00     13.20      $11,220.00
Polanun, Jean                 Associate        2024         2023           $850.00     67.00      $56,950.00
Rosenfeld, Jared H.           Associate        2019         2018         $1,490.00     35.90      $53,491.00
Rosenthal, Samantha B.        Associate        2022         2020         $1,395.00      2.30       $3,208.50
Ross, Luke W.                 Associate        2023         2022           $995.00    104.20     $103,679.00
Ruan, Ting                    Associate        2023         2023           $995.00     26.70      $26,566.50
Rust, Maximilian W.G.         Associate        2023         2022           $995.00     26.20      $26,069.00
Saevitzon, Jamie G.           Associate        2024         2023           $850.00     61.50      $52,275.00
Scales, Manon T.              Associate        2016         2016         $1,575.00      3.50       $5,512.50

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                                                              Year of                       Total
                                                   Year of                                               Total
  Timekeeper Name                 Position                   Law School Hourly Rate         Hours
                                                  Admission                                           Compensation
                                                             Graduation                     Billed
Schaaff, Harold J.            Associate              2023       2023        $850.00           6.70        $5,695.00
Schutt, Robert P.             Associate              2023       2022        $995.00          21.60       $21,492.00
Schwartz, Maxwell E.          Associate              2020       2019      $1,450.00          17.30       $25,085.00
Setren, Kira R.               Associate           in process    2023        $850.00           2.00        $1,700.00
Shehada, Emile R.             Associate              2023       2022        $995.00          19.40       $19,303.00
Shure, Harrison B.            Associate              2024       2023        $850.00          65.90       $56,015.00
Stern, Corey J.               Associate              2023       2022        $995.00           1.10        $1,094.50
Strand, Matthew L.            Associate              2020       2020      $1,395.00         136.00      $189,720.00
Sullivan, Charles H.          Associate              2019       2018      $1,490.00          30.60       $45,594.00
Toobin, Adam J.               Associate              2023       2022        $995.00           1.80        $1,791.00
Van Allen, Leanne M.          Associate              2022       2021      $1,295.00           5.00        $6,475.00
Van Holten, Luke H.           Associate              2021       2020      $1,395.00         100.50      $140,197.50
Vickers, Michelle A.          Associate              2015       2015      $1,575.00           0.50          $787.50
Wadhawan, Subhah              Associate              2024       2023        $850.00         133.20      $113,220.00
Wang, Lisa V.                 Associate           in process    2023        $850.00          41.30       $35,105.00
Weinberg Crocco, Fabio        Associate              2011       2017      $1,530.00          99.40      $152,082.00
Xu, Sam                       Associate              2024       2023        $850.00           1.60        $1,360.00
Yu, Meng                      Associate              2021       2020      $1,395.00          23.10       $32,224.50
Zahn, Arnold                  Associate              2023       2023        $850.00          85.20       $72,420.00
Zhang, Naiquan                Associate              2023       2022        $995.00          10.50       $10,447.50
Zonenshayn, Benjamin          Associate              2023       2022        $995.00          83.80       $83,381.00
Cuesta Garayoa, Álvaro        Visiting Lawyer        2020       2019        $850.00          28.80       $24,480.00
U Jin, Nicholas               Trainee Solicitor   in process    2023        $550.00           0.40          $220.00
Associate Total                                                                            3,234.20   $3,673,109.50
Lawyers Total                                                                              5,245.00   $8,154,254.50
Baldini, Michael X.           Paralegal                                           $0.00*     17.00            $0.00
Bjarnason, Maxim H.           Paralegal                                          $450.00      3.50        $1,575.00
Bowden, Karen E.              Paralegal                                          $650.00      0.10           $65.00
Brice, Mac L.                 Paralegal                                          $450.00      5.90        $2,655.00
Chen, Sophia                  Paralegal                                           $0.00*      2.00            $0.00
Chen, Sophia                  Paralegal                                          $650.00     17.10       $11,115.00
Ghatalia, Priyanka R.         Paralegal                                           $0.00*     30.00            $0.00
Kohata, Michiko               Paralegal                                          $650.00      1.00          $650.00
Kopp, Emily A.                Paralegal                                           $0.00*     17.60            $0.00
Kopp, Emily A.                Paralegal                                          $450.00      3.30        $1,485.00
Menin, Raina A.               Paralegal                                          $450.00      6.20        $2,790.00
Ontiveros, Virginia E.        Paralegal                                           $0.00*     30.90            $0.00
Pytosh, Jordan A.             Paralegal                                           $0.00*     16.50            $0.00
Rosen, Celia S.               Paralegal                                           $0.00*     17.80            $0.00
Sami, Dima M.                 Paralegal                                          $450.00      1.00          $450.00
Schlossberg, Harrison         Paralegal                                           $0.00*      3.30            $0.00


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                                                            Year of                       Total
                                                  Year of                                             Total
  Timekeeper Name                  Position                Law School Hourly Rate         Hours
                                                 Admission                                         Compensation
                                                           Graduation                     Billed
Schlossberg, Harrison          Paralegal                                  $565.00          2.60        $1,469.00
Shahnazary, Victoria G.        Paralegal                                  $565.00          4.70        $2,655.50
Smusz, Nicholas                Paralegal                                   $0.00*         25.70            $0.00
Vasylyk, Natalia               Paralegal                                   $0.00*          2.80            $0.00
Wiley, Jack T.                 Paralegal                                   $0.00*         19.00            $0.00
Williams, Thursday K.          Paralegal                                  $450.00          0.40          $180.00
                               Legal Analyst -
Abad, Bonifacio J.             Litigation                                       $650.00   18.70       $12,155.00
                               Legal Analyst -
Ahmed, Fareed                  Litigation                                       $650.00   36.50       $23,725.00
                               Legal Analyst -
Arebamen, Ehi G.               Litigation                                       $650.00   49.20       $31,980.00
                               Legal Analyst -
Fukui, Terry M.                Litigation                                        $0.00*   18.90            $0.00
                               Legal Analyst -
Fukui, Terry M.                Litigation                                       $650.00   51.60       $33,540.00
                               Legal Analyst -
Hazard, Joshua M.              Litigation                                       $650.00   30.40       $19,760.00
                               Legal Analyst -
Hewitson, Sally                Litigation                                       $650.00   55.60       $36,140.00
                               Legal Analyst -
Maratheftis, Georgia           Litigation                                       $650.00   27.00       $17,550.00
                               Legal Analyst -
Perry, Robin                   Litigation                                       $650.00    4.20        $2,730.00
                               Legal Analyst -
Ragnanan, Nicolette S.         Litigation                                       $650.00   72.90       $47,385.00
                               Legal Analyst -
Samuel, Dawn C.                Litigation                                       $650.00   89.40       $58,110.00
                               Legal Analyst -
Zhong, Shan                    Litigation                                        $0.00*   33.00            $0.00
                               Legal Analyst -
McMahon, Mary R.               Discovery                                        $650.00    4.30        $2,795.00
                               Electronic
Gilday, Joseph F.              Discovery                                        $550.00   26.00       $14,300.00
                               Electronic
Hossein, Saud M.               Discovery                                        $550.00    1.00         $550.00
                               Electronic
Lopez, Nathaniel S.            Discovery                                        $550.00    1.40         $770.00
                               Electronic
Newman, Eric M.                Discovery                                        $550.00    0.70         $385.00
                               Electronic
Walther, Wayne M.              Discovery                                        $550.00   12.10        $6,655.00

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                                                        Year of                        Total
                                              Year of                                                Total
  Timekeeper Name              Position                Law School Hourly Rate          Hours
                                             Admission                                            Compensation
                                                       Graduation                      Billed
                       Electronic
Wolowski, Nicholas D.  Discovery                                             $550.00    17.70         $9,735.00
                       Electronic
Ybanez, Jecamiah M.    Discovery                                             $525.00     4.20         $2,205.00
                       Electronic
Yim, Eileen Y. L.      Discovery                                             $550.00     7.90         $4,345.00
Non Legal Personnel Total                                                               791.10      $349,904.50
GRAND TOTAL                                                                            6,036.10   $8,504,159.00

         * Zero rate appears wherever no fee was charged for work.
         ** 50% rate appears where time is charged for non-working travel.

                                      Blended Hourly Rate:       $1,408.88




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                           STATEMENT OF FEES BY PROJECT CATEGORY 4
                        APRIL 1, 2024 THROUGH AND INCLUDING APRIL 30, 2024

                      Project Name                                                       Hours           Fee Amount
 ASSET ANALYSIS AND RECOVERY                                                             292.10              $453,649.00
 ASSET DISPOSITION                                                                       651.80              $838,676.50
 ASSUMPTION AND REJECTION OF LEASES AND CONTRACTS                                          0.40                 $674.00
 AVOIDANCE ACTION ANALYSIS                                                                59.90               $85,725.50
 BUSINESS OPERATIONS                                                                      12.90               $21,842.50
 CASE ADMINISTRATION                                                                      38.90               $90,910.00
 CLAIMS ADMINISTRATION AND OBJECTIONS                                                     76.80              $139,514.50
 CORPORATE GOVERNANCE AND BOARD MATTERS                                                   33.40               $76,165.00
 EMPLOYEE BENEFITS AND PENSIONS                                                           13.90               $25,008.50
 EMPLOYMENT AND FEE APPLICATIONS (S&C)                                                    51.50               $72,014.50
 EMPLOYMENT AND FEE APPLICATIONS (OTHERS)                                                 44.70               $61,555.00
 FINANCING AND CASH COLLATERAL                                                               -                     $0.00
 OTHER LITIGATION                                                                        912.90            $1,394,481.00
 MEETINGS AND COMMUNICATIONS WITH CREDITORS                                                6.70               $14,715.50
 NON-WORKING TRAVEL                                                                       30.00               $35,040.00
 PLAN AND DISCLOSURE STATEMENT                                                           939.90            $1,523,418.50
 RELIEF FROM STAY AND ADEQUATE PROTECTION                                                    -                     $0.00
 TAX                                                                                     438.90              $825,103.50
 VALUATION                                                                                   -                     $0.00
 DISCOVERY                                                                              1,315.60           $1,359,255.00
 HEARINGS                                                                                    -                     $0.00
 FIRST AND SECOND DAY MOTIONS                                                                -                     $0.00
 CLAIMS INVESTIGATION                                                                        -                     $0.00
 GENERAL INVESTIGATIONS                                                                  138.90              $245,260.00
 SCHEDULES, SOFAS AND REPORTING                                                            0.80                $1,728.00
 OTHER MOTIONS/APPLICATIONS                                                               78.10              $129,121.50
 TIME ENTRY REVIEW                                                                       234.50                    $0.00
 BUDGETING                                                                                 1.30                 $585.00
 GENERAL REGULATORY                                                                       16.00               $29,427.00
 BAHAMAS MATTERS                                                                           5.80                $9,561.50
 FOREIGN DEBTOR MATTERS                                                                  482.50              $765,542.50
 COORDINATION WITH FOREIGN PROCEEDINGS                                                     1.20                $2,850.00
 COORDINATION WITH OTHER BANKRUPTCIES                                                      6.50                $8,325.00
 INVESTIGATIVE REPORTS                                                                       -                     $0.00
 CYBER ISSUES                                                                             35.60               $56,647.00
 EXAMINER PREP                                                                           114.60              $237,363.00
TOTAL                                                                                   6,036.10           $8,504,159.00




   4
       The subject matter of certain time entries may be appropriate for more than one project category. In such
       instances, time entries generally have been included in the most appropriate category. Time entries do not
       appear in more than one category.


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                     SUMMARY OF ACTUAL AND NECESSARY EXPENSES

                                         Disbursement Summary
          Expense Category                 Service Provider 5, if Applicable               Amount
    Repro - B&W Copies                                                                          $303.90
    Repro - Color Copies                                                                        $289.80
    Delivery/Courier                                                                            $307.73
    Local Transportation                                                                      $5,989.44
    Travel and Expenses                                                                       $5,096.70
    Conference Room Dining                                                                      $200.00
    Meals - Overtime                                                                          $1,200.00
    Lien and Judgment Searches                                                                  $558.16
    Other Professionals                    South Square Barristers                            $3,808.46
    TOTAL                                                                                    $17,754.19




5
    Sullivan & Cromwell LLP may use one or more service providers. The service providers identified herein are
    the primary service providers for the categories described.


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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

In re:                                                        Chapter 11

FTX TRADING LTD., et al., 1                                   Case No. 22-11068 (JTD)

         Debtors.                                             (Jointly Administered)



    EIGHTEENTH MONTHLY FEE STATEMENT OF SULLIVAN & CROMWELL LLP
        AS COUNSEL TO THE DEBTORS AND DEBTORS-IN-POSSESSION FOR
         COMPENSATION FOR PROFESSIONAL SERVICES RENDERED AND
          REIMBURSEMENT OF EXPENSES INCURRED FOR THE PERIOD
          FROM APRIL 1, 2024 THROUGH AND INCLUDING APRIL 30, 2024

                     Sullivan & Cromwell LLP (“S&C”), counsel to FTX Trading Ltd. and its

affiliated debtors and debtors-in-possession in the above-captioned cases (collectively, the

“Debtors”), hereby submits this eighteenth monthly fee statement (this “Monthly Fee

Statement”) for compensation for professional services rendered and expenses incurred for the

period from April 1, 2024 through and including April 30, 2024 (the “Fee Period”). In support

of the Monthly Fee Statement, S&C respectfully states as follows:

                                                  Background

                     1.    On November 11 and November 14, 2022, 2 the Debtors filed with the

United States Bankruptcy Court for the District of Delaware (the “Court”) voluntary petitions for




1
     The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
     4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
     Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete
     list of such information may be obtained on the website of the Debtors’ claims and noticing agent at
     https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd
     is Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.
2
     November 11, 2022 is the petition date for all Debtors, except for Debtor West Realm Shires Inc.




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relief under title 11 of the United States Code, 11 U.S.C. §§ 101 et seq. (as amended or modified,

the “Bankruptcy Code”). The Debtors continue to operate their businesses and manage their

properties as debtors-in-possession pursuant to sections 1107(a) and 1108 of the Bankruptcy

Code. Joint administration of the Debtors’ cases (the “Chapter 11 Cases”) was authorized by the

Court by entry of an order on November 22, 2022 [D.I. 128]. On December 15, 2022, the Office

of the United States Trustee for the District of Delaware (the “U.S. Trustee”) appointed an

Official Committee of Unsecured Creditors (the “Committee”) pursuant to section 1102 of the

Bankruptcy Code [D.I. 231].

                     2.   On January 9, 2023, the Court entered the Order Establishing Procedures

for Interim Compensation and Reimbursement of Expenses of Professionals [D.I. 435] (the

“Interim Compensation Order”).

                     3.   On January 20, 2023 the Court entered the Order Authorizing the

Retention and Employment of Sullivan & Cromwell LLP as Counsel to the Debtors and Debtors-

in-Possession Nunc Pro Tunc to the Petition Date [D.I. 553] authorizing the retention and

employment of S&C as the Debtors’ counsel, nunc pro tunc to November 11, 2022.

                     4.   On March 8, 2023, the Court entered the Order (I) Appointing Fee

Examiner and (II) Establishing Procedures for Consideration of Requested Fee Compensation

and Reimbursement of Expenses [D.I. 834] appointing Katherine Stadler (the “Fee Examiner”) to

serve as the fee examiner in these Chapter 11 Cases and establishing certain procedures in

connection therewith.

                                          Relief Requested

                     5.   By this Monthly Fee Statement and in accordance with the Interim

Compensation Order, S&C makes this application for (i) allowance of compensation as an

administrative expense of the Debtors’ estates in the amount of $8,504,159.00 for reasonable and

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necessary professional services rendered, (ii) payment of compensation in the amount of 80%

thereof (in the amount of $6,803,327.20 ) and (iii) payment of $17,754.19 for actual and

necessary expenses incurred.

         a. Compensation Requested

                     6.       The services performed by S&C during the Fee Period represent one of the

most complicated, multi-disciplinary exercises by any law firm in any area of law. S&C’s work

included assistance with:

                          •   the investigation into the scope and nature of customer entitlements on the
                              Petition Date and steps to resolving the myriad of novel issues in
                              connection with plan formation;

                          •   work on various corporate workstreams, including tax, intellectual
                              property, asset security, human resources and global regulatory
                              compliance;

                          •   work in connection with disputes with the Joint Provisional Liquidators in
                              both Australia and The Bahamas;

                          •   the collection and organization of voluminous corporate records across
                              various traditional and non-traditional media of communications, the
                              collection of materials for discovery;

                          •   the provision of information to, and cooperation with requests by, global
                              law enforcement in connection with pending criminal investigations and
                              prosecutions;

                          •   identification, recovery and monetization of billions of dollars of liquid
                              assets of the Debtors;

                          •   the representation of the Debtors in four other large cryptocurrency
                              chapter 11 cases—Voyager Digital, Celsius Networks, BlockFi and
                              Genesis Digital, including settlements and mediations in connection with
                              the same;

                          •   ongoing discussions with the Committee and other creditor constituents;

                          •   the sales of various venture capital assets and other de minimis assets;

                          •   discussions with the Committee, ad hoc committee and other interested

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                              parties regarding the chapter 11 plan and related issues;

                          •   the preparation, drafting and negotiation of the revised chapter 11 plan, the
                              revised disclosure statement and revised solicitation notices and ballots;

                          •   the preparation for a second trial regarding the estimation of digital assets
                              and

                          •   the preparation, drafting and filing of certain causes of action, including
                              avoidance actions, against various parties, and settlements and mediations
                              relating to the same.

Attached hereto as Exhibit A is a detailed itemization, by project category, of all services

performed by S&C with respect to the Chapter 11 Cases during the Fee Period. This detailed

itemization complies with Local Rule 2016-2 in that each time entry contains a separate time

allotment, a description of the type of activity and the subject matter of the activity, all time is

billed in increments of one-tenth (1/10) of an hour, time entries are presented chronologically in

categories, and all meetings or hearings are individually identified.

                     7.       The timekeepers who rendered services related to each category are

identified in Exhibit A, along with the number of hours for each individual and the total

compensation sought by each category. All services for which S&C requests compensation were

performed for, or on behalf of, the Debtors.

         b. Expense Reimbursement

                     8.       S&C incurred out-of-pocket expenses during the Fee Period in the amount

of $17,754.19. Attached hereto as Exhibit B is a description of the expenses actually incurred by

S&C in the performance of services rendered as counsel to the Debtors. The expenses are

broken down into categories of charges, which may include, among other things, the following

charges: printing, delivery services, transcripts, working meals, overtime or weekend travel, and

other expenses.



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                     9.    In April, S&C retained on behalf of the Debtors Mr. Peter Burgess from

South Square Barristers. S&C seeks reimbursement only for the actual expenses charged by

such third-party service providers.

                     10.   In accordance with section 330 of the Bankruptcy Code, S&C seeks

reimbursement only for the actual cost of such expenses to S&C. S&C submits that all such

expenses incurred were customary, necessary and related to the Chapter 11 Cases and, by this

Monthly Fee Statement, requests reimbursement of the same.

                                         Valuation of Services

                     11.   Professionals of S&C have expended a total of 6,036.10 hours in

connection with this matter during the Fee Period.

                     12.   The amount of time spent by each of the professionals providing services

to the Debtors for the Fee Period is set forth in Exhibit A. The rates are S&C’s normal hourly

rates of compensation for work of this character in connection with Chapter 11 proceedings. The

rates for the more senior timekeepers in each class represent a discount from the rates currently

used by S&C when preparing estimates of fees under its normal billing procedures for non-

bankruptcy engagements. The reasonable value of the services rendered by S&C for the Fee

Period as counsel for the Debtors in the Chapter 11 Cases is $8,504,159.00.

                     13.   S&C believes that the time entries included in Exhibit A attached hereto

and the expense breakdown set forth in Exhibit B attached hereto are in compliance with the

requirements of Local Rule 2016-2.

                     14.   In accordance with the factors enumerated in section 330 of the

Bankruptcy Code, the amount requested is fair and reasonable given the complexities of these

Chapter 11 Cases, the time expended, the nature and extent of the services rendered, the value of



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such services, and the costs of comparable services other than in a case under this title.

                                Certificate of Compliance and Waiver

                     15.   The undersigned representative of S&C certifies that he has reviewed the

requirements of Local Rules 2016-2 and that the Monthly Fee Statement substantially complies

with such rule. To the extent that the Monthly Fee Statement does not comply in all respects

with the requirements of Local Rule 2016-2, S&C believes that such deviations are not material

and respectfully requests that any such requirements be waived.

                                     Notice and No Prior Request

                     16.   Notice of this Monthly Fee Statement has been given to the following

parties or, in lieu of, to their counsel, if known: (a) the U.S. Trustee; (b) the Official Committee

of Unsecured Creditors; (c) the Fee Examiner and (d) all parties required to be given notice in

the Interim Compensation Order. S&C submits that no other or further notice is necessary.

                     17.   No prior request for the relief sought in this Monthly Fee Statement has

been made to this or any other Court.

                     WHEREFORE, S&C respectfully requests that the Bankruptcy Court

(i) approve the Monthly Fee Statement and (ii) grant such further relief as is just and proper.




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 Dated: May 31, 2024                     /s/ Andrew G. Dietderich
        New York, NY                     Andrew G. Dietderich
                                         James L. Bromley
                                         Brian D. Glueckstein
                                         Alexa J. Kranzley
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                                         Counsel to the Debtors and Debtors-in-Possession




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